


  PER CURIAM.
 

  The petition is granted and Charles L. Nichols is hereby afforded a belated appeal from judgment and sentence in case number 2006CF3876 in the Circuit Court for Leon County. Upon issuance of mandate in this cause, a copy of this opinion will be provided to the clerk of the circuit court, with directions that it be treated as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
 

  The circuit court is directed to appoint counsel to represent petitioner in the appeal, if he qualifies for such an appointment.
 

  PETITION GRANTED.
 

  KAHN, BENTON, and VAN NORTWICK, JJ., concur.
 
